Case 19-34054-sgj11 Doc 3467 Filed 08/24/22          Entered 08/24/22 19:56:12        Page 1 of 10




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  COUNSEL FOR HUNTER MOUNTAIN INVESTMENT TRUST

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re:                       §                         Case No. 19-34054-sgj11
                               §
  HIGHLAND CAPITAL MANAGEMENT, §                         Chapter 11
  L.P.,                        §
                               §                        Relates to Dkt. No. 3382
        Debtor                 §


           LIMITED RESPONSE IN SUPPORT OF CERTAIN REQUESTED RELIEF


           Hunter Mountain Investment Trust (“Hunter Mountain”) files this Limited Response in

 Support of Certain Requested Relief (the “Response”) in connection with the Motion For

 Determination of the Value of the Estate and Assets Held by the Claimant Trust [Dkt. No. 3382]

 (the “Motion for Valuation”) filed by the Dugaboy Investment Trust (“Dugaboy”) and supports

 Dugaboy’s request for information from the reorganized debtor (“HCMLP”) and the Claimant

 Trust, as defined in the Fifth Amended Plan of Reorganization of Highland Capital Management,



                                                1
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22                     Entered 08/24/22 19:56:12              Page 2 of 10




 L.P. (as modified) [Dkt. No. 1943] (the “Plan”),1 regarding the value of the Reorganized Debtor

 Assets and Claimant Trust Assets, as well as the outstanding Class 8 and 9 Claims.

                                                   SUMMARY

         1.       Hunter Mountain believes that no Professional, Claimant Trust Beneficiary, nor this

 Court would support the idea that the Plan provides that the Litigation Sub-Trust should pursue

 litigation against Holders of Equity Interest to generate a recovery with which to pay distributions

 to those same Holders of Equity Interest, less the costs of that litigation. Yet, given the allegations

 in the Motion for Valuation and general lack of transparency into the Reorganized Debtor Assets,

 Claimant Trust Assets, and outstanding obligations that must be resolved, including the Class 8

 and 9 Claims, Hunter Mountain—as both a Holder of Class 10 - Class B/C Limited Partnership

 Interests and a defendant in the Kirschner Adversary Proceeding2—is concerned that this could

 occur in this case. Therefore, Hunter Mountain submits that to best effectuate the Plan, HCMLP

 and the Claimant Trust should work with Holders of Equity Interests, like Hunter Mountain, to

 provide transparency into the value of the Reorganized Debtor Assets and Claimant Trust Assets

 and outstanding Class 8 and 9 Claims.

                                                BACKGROUND

     A. Hunter Mountain holds a Contingent Claimant Trust Interest

           2.     HCMLP is a Delaware limited partnership. As of the Petition Date, HCMLP had

 three classes of limited partnership interest (Class A, Class B, and Class C). See Disclosure




 1
         Capitalized terms not otherwise defined herein take their meaning from the Plan.

 2
         See Marc S. Kirschner, as Litigation Trustee of the Litigation Sub-Trust vs. Dondero et al [Adv. Pro. No. 21-
 03076-sgj]

                                                          2
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22            Entered 08/24/22 19:56:12         Page 3 of 10




 Statement [Dkt. No. 1473], ¶F(4). The Class A interests were held by Dugaboy, Mark Okada

 (“Okada”), personally and through family trusts, and Strand Advisors, Inc. (“Strand”), HCMLP’s

 general partner. The Class B and C interests were held by Hunter Mountain. Id. In the aggregate,

 HCMLP’s limited partnership interests were held: (a) 99.5% by Hunter Mountain; (b) 0.1866% by

 Dugaboy, (c) 0.0627% by Okada, and (d) 0.25% by Strand. Id.

         3.     In the Plan, HCMLP classified Hunter Mountain’s Class B Limited Partnership

 Interest and Class C Limited Partnership Interest (together, Class B/C Limited Partnership

 Interests) as Class 10, separately from that of the holders of Class A Limited Partnership Interests

 which are Class 11. See Plan, Article III, ¶H(10) and (11). According to the Plan, Contingent

 Claimant Trust Interests distributed to the Holders of Class A Limited Partnership Interests are be

 subordinate to the Contingent Claimant Trust Interests distributed to the Holders of Class B/C

 Limited Partnership Interests. See Plan, Article I, ¶44.

         4.     In the Confirmation Order, the Court found that the Plan properly separately

 classified those Equity Interests because they represent different types of equity security interests

 in HCMLP and different payment priorities pursuant to that certain Fourth Amended and Restated

 Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24,

 2015, as amended (the “Limited Partnership Agreement”). Confirmation Order, ¶36; Limited

 Partnership Agreement, §3.9 (Liquidation Preference).

         5.     The Plan created the Claimant Trust which was established for the benefit of

 Claimant Trust Beneficiaries, which is defined to mean:

        the Holders of Allowed General Unsecured Claims, Holders of Allowed
        Subordinated Claims, including, upon Allowance, Disputed General Unsecured
        Claims and Disputed Subordinated Claims that become Allowed following the
        Effective Date, and, only upon certification by the Claimant Trustee that the
        Holders of such Claims have been paid indefeasibly in full plus, to the extent all
        Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full,
                                                   3
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22             Entered 08/24/22 19:56:12         Page 4 of 10




        post-petition interest from the Petition Date at the Federal Judgment Rate in
        accordance with the terms and conditions set forth in the Claimant Trust Agreement
        and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
        Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A
        Limited Partnership Interests

 See Plan, Article I, ¶27. Therefore, Hunter Mountain holds a Contingent Claimant Trust Interest

 which will vest into Claimant Trust Interests upon indefeasible payment of Allowed Claims.

        6.      Therefore, depending on the realization of asset value less debts, Hunter Mountain

 may become a Claimant Trust Beneficiary.

        7.      In other words, the status of the Bankruptcy Case is a liquidation, and there are

 assets including (this is a generalization) cash, ownership interests in entities, investments into

 entities and funds, perhaps real estate, and litigation claims (“Assets”). There are obligations,

 including the Exit Facility, Allowed Claims, obligations to Indemnified Parties, etc. Further, there

 are ongoing (and we assume material) administrative and litigation costs, and obligations arising

 under the Plan for payment of various success fees, etc., to various persons in connection with the

 liquidation (collectively, the “Obligations”).

        8.      Hunter Mountain is “in the money” if the Assets are greater than the Obligations.

        9.      Further, Hunter Mountain and perhaps other persons and entities could have

 incentive to discuss with HCMLP and the Claimant Trust the prospect of an overall resolution if

 it could obtain some level of clarity as to the value of the assets and the amount of the Obligations.

 Information could facilitate discussion. For example, Hunter Mountain assumes that while the

 Exit Facility has repayment obligations that must be made on an ongoing basis, the obligations to

 Indemnified Parties and the necessity of payment of ongoing administrative and litigations costs

 may cause a postponement of distributions to Holders of Allowed Claims, creating a circle

 whereby Allowed Claims are not paid, the value of current assets is being used, so that the Asset

                                                   4
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22             Entered 08/24/22 19:56:12         Page 5 of 10




 over Obligations ratio is currently decreasing. So as time passes, the value of Assets is decreasing,

 which requires reliance upon litigation claims to replace such diminution.

         10.    So, even if there is a deficit of Assets over Obligations, knowledge of the amount

 of such a deficit, with information about assets remaining, could generate a picture of a current

 deficit, and better the possibility of a resolution that could create a maximization of the Asset value

 and a capping of the Obligations (for example, in a resolution situation there would be no

 obligations to Indemnified Parties so any reserve could be utilized free of such obligations; and no

 further need for projection and payment of administrative and litigation costs so no growing

 deficit).

     B. Holders of Contingent Claimant Trust Interests have no insight into the value of the
        Assets or amount of Obligations.

         11.    While whether Hunter Mountain’s Contingent Claimant Trust Interest will vest into

 a Claimant Trust Interest is dependent upon the Asset value over Obligations amount, Hunter

 Mountain has little to no insight into what these values may be and no method to independently

 ascertain them.

         12.    HCMLP and the Claimant Trust file quarterly post-confirmation reports, but these

 reports do not provide the relevant information related to the true Asset value versus the

 Obligations. These reports state that all Claims in Classes 6 and 7 were paid in full and that Classes

 8 and 9 have received non-cash distributions in to and form of Claimant Trust Interests and

 therefore any distributions to holders of Class 8 and Class 9 claims will be made by the Claimant

 Trust. See Dkt. No. 3409-1. But the Claimant Trust has made no distributions to Claimant Trust

 Beneficiaries. See Dkt. No. 3410-1. Further Hunter Mountain has no independent knowledge of

 the amount of Class 8 and 9 Allowed Claims.


                                                   5
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22            Entered 08/24/22 19:56:12        Page 6 of 10




         13.    Further, the quarterly post-confirmation reports only reflect assets directly held

 HCMLP which are only a fraction of the Assets.

         14.    The Plan requires the Claimant Trustee to determine the fair market value of the

 Claimant Trust Assets as of the Effective Date and notify the applicable Claimant Trust

 Beneficiaries of such a valuation, as well as distribute tax information to Claimant Trust

 Beneficiaries as appropriate. See Plan, ¶Art. IV(B)(9). But no like information regarding

 valuation of the Claimant Trust Assets is available to Holders of Contingent Claimant Trust

 Interests.

     C. Hunter Mountain is also a defendant in the Kirschner Adversary Proceeding

         15.    While normally this lack of transparency into whether the Contingent Claimant

 Trust Interest will vest would not require valuation information to be provided at this intermediate

 juncture, here Hunter Mountain’s status as a defendant in the Kirschner Adversary necessitates

 greater transparency.

         16.    On October 15, 2021, Marc C. Kirschner as Litigation Trustee of the Litigation

 Sub-Trust commenced the Kirschner Adversary Proceeding against twenty-three defendants

 including Hunter Mountain (a Holder of Class 10 Equity Interests) for various causes of action.

 See Kirschner Adversary Proceeding, Dkt. No. 1 (as amended by Dkt. No. 158).

         17.    The Litigation Sub-Trust was established within the Claimant Trust as a wholly

 owned-subsidiary of the Claimant Trust for the purpose of investigating, prosecuting, settling, or

 otherwise resolving the Estate Claims, with any proceeds therefrom to be distributed by the

 Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries. See

 Plan, Article IV,¶ (B)(4).



                                                  6
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22             Entered 08/24/22 19:56:12         Page 7 of 10




        18.     Therefore, any recovery from the Kirschner Adversary Proceeding will be

 distributed to Claimant Trust Beneficiaries.

        19.     So, if Hunter Mountain could be a Claimant Trust Beneficiary, the Litigation Sub-

 Trust is pursuing claims against Hunter Mountain, which, if it becomes a Claimant Trust

 Beneficiary, would be the recipient of distributions of such recovery (less the cost of litigation).

 This last part is the most troubling and catalyst for requiring a valuation at this juncture. The costs

 of litigation are only increasing and are likely to be great. Therefore, the costs to litigate against

 Hunter Mountain will be borne by Hunter Mountain by virtue of its status as a Holder of a

 Contingent Claimant Trust Interest, and every dollar incurred litigating against Hunter Mountain

 decreases the likelihood that Hunter Mountain’s Contingent Claimant Trust Interest will vest.

        20.     And if whether Hunter Mountain will be a Claimant Trust Beneficiary is a close

 call [i.e. because the difference between Assets and Obligations is “small” (a relative term given

 the hundreds of millions of dollars at stake)], then this will greatly inform Hunter Mountain’s

 litigation decisions and could affect materially the prospects of overall resolution.

        21.     Information concerning the amount of cash Assets, together with the remaining

 non-cash Assets (without regard to the litigation of Estate Claims), together with the current

 Obligations, could well generate fruitful settlement discussions because it is reasonable to believe

 that Hunter Mountain could decide that it can utilize non-cash assets in such a way as to maximize

 their value in a way that HCMLP and the Claimant Trust cannot, after resolution of the Obligations.

                                       RELIEF REQUESTED

        22.     Simply put, Hunter Mountain seeks information, which is readily available to

 HCMLP and the Claimant Trust (and for which Hunter Mountain is willing to bear the cost of

 collating) that will inform whether Hunter Mountain will be a Claimant Trust Beneficiary so that:

                                                   7
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22            Entered 08/24/22 19:56:12         Page 8 of 10




 (i) all parties can avoid the facially unpalatable circumstance of the Litigation Sub-Trust seeking

 recovery from Hunter Mountain which could be raised to go to pay Hunter Mountain, less the

 Litigation Sub-Trust’s attorney’s fees, and (ii) Hunter Mountain can make informed litigation

 decisions, including possibly seeking to assemble sufficient resources with which to resolve the

 Obligations, thereby negating the basis of any further litigation and resulting in an expeditious

 closing of the Bankruptcy Case. Hunter Mountain is situated in priority to Dugaboy, so it has a

 firmer basis for entitlement.

        23.     Hunter Mountain does not seek to interfere with or be part of the liquidation

 process, does not seek to examine negotiations, does not seek the identity of persons or entities

 with whom HCMLP or the Claimant Trust is dealing, does not seek to substitute its judgment for

 that of person and parties authorized under the Plan. But as a Holder of Contingent Claimant Trust

 Interests, it is entitled to information as to the value of Assets and amount of Obligations.

                                 BASIS FOR RELIEF REQUESTED

        24.     This Court specifically retained jurisdiction to ensure that distributions to Holders

 of Allowed Equity Interests are accomplished pursuant to the provisions of the Plan. See Plan,

 Article XI. The Plan provides that distributions to Allowed Equity Interests will be accomplished

 through the Claimant Trust and Contingent Claimant Trust Interests. See Plan Article III, (H)(10)

 and (11).

        25.     The relief requested by Hunter Mountain is limited to the likelihood that the

 Contingent Claimant Trust Interests will vest. This information will help ensure distributions to

 Holders of Allowed Equity Interests as well as possibly lead to a resolution of overall the

 Bankruptcy Case.



                                                   8
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22          Entered 08/24/22 19:56:12      Page 9 of 10




                                        CONCLUSION

        26.     For the reasons set forth herein, Hunter Mountain supports the request of Dugaboy

 to compel information regarding the value of the Assets and Obligations and the outstanding

 claims in Classes 8 and 9.

                                             Respectfully submitted:

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                                                9
Case 19-34054-sgj11 Doc 3467 Filed 08/24/22            Entered 08/24/22 19:56:12       Page 10 of 10




                                  CERTIFICATE OF SERVICE

         I, undersigned counsel, hereby certify that a true and correct copy of the above and
  foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
  system to all parties authorized to receive electronic notice in this case on this August 24, 2022.

                                               /s/ Louis M. Phillips
                                               Louis M. Phillips




                                                  10
